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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


                                                          Civil No. 0:18-cv-631 DWF-KMM
Armon Nahal,
                                                            DEFENDANTS
       Plaintiff,                                    KRISTI GULLICKSON, KELLY
                                                     MORITZ, MATT KRESL, MATT
v.                                                   WOLF, MICHAEL HAIGHT, JEN
                                                     HANSON AND ANNE STERN’S
Allina Health System, Kristi                             MOTION TO DISMISS
Gullickson, Kelly Moritz, Matt Kresl,               PLAINTIFF’S SECOND AMENDED
Matt Wolf, Michael Haight, Lehlia                            COMPLAINT
Paschke, Susan Shorter, Jen Hanson,
and Anne Stern,                                        ORAL ARGUMENT REQUESTED


       Defendants.


TO:    Plaintiff Armon Nahal, 210 West Grant Street, #509, Minneapolis, MN, 55403


       Defendants Kristi Gullickson, Kelly Moritz, Matt Kresl, Matt Wolf, Michael

Haight, Jen Hanson, and Anne Stern hereby move the United States District Court, District

of Minnesota for an Order Dismissing Plaintiff’s Second Complaint with prejudice because

it fails to state a claim upon which relief can be granted.

       The motion will be made upon all the files, records, and proceedings in this action

and upon the memorandum and other supporting papers that will be served upon you.
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Dated: July 13, 2018                        FAEGRE BAKER DANIELS LLP

                                            s/Erik A. Mosvick
                                            Charles F. Knapp (#0399018)
                                             chuck.knapp@faegrebd.com
                                            Erik A. Mosvick (#0395545)
                                             erik.mosvick@faegrebd.com

                                            2200 Wells Fargo Center
                                            90 South Seventh Street
                                            Minneapolis, MN 55402-3901
                                            (612) 766-7000

                                            Attorneys for Defendants Kristi Gullickson,
                                            Kelly Moritz, Matt Kresl, Matt Wolf,
                                            Michael Haight, Jen Hanson, and Anne
                                            Stern




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